   Case 08-10095                 Doc 4428-1 Filed 07/20/21 Entered 07/20/21 14:54:00                                                Desc
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